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                IN THE UNITED STATES DISTRICT COURT FOR THE
                              SOUTHERN DISTRICT OF GEORGIA
                                       AUGUSTA DIVISION


UNITED STATES OF AMERICA                            *


               v.                                   *                   CR 112-242


ANTHONY    BRUCE      CRAGO                         *




                                             ORDER




        On October 15,          2014,       Defendant Anthony Bruce Crago filed a

motion and          supporting        affidavit,        which   have      been docketed as          a

"Motion        to     Inspect         the     Master      Juror      Lists,"          or     in   the

alternative,         a   "Motion       to    Dismiss      the    Indictment       for       Improper

Venue    of    Grand      Jury,"       and    an    "Affidavit       of    Specific         Negative

Averment."           (Docs.    294,    295.)        The crux of Defendant's argument

is    this:    he    believes      his       criminal     charges       should be          dismissed

because       the     United      States       District         Court      for    the       Southern

District of Georgia was not properly established as an Article

III    Court    under     the    Constitution           and   laws   of    the   United       States

and only grand jurors who reside on federally owned land could

properly indict him.                  The Court understood Defendant's motion,

to    attack    the      validity       of    his   federal       sentence       on    the    ground

that this Court               lacks     jurisdiction.1            Accordingly,             the Court

1       The Court is aware that the Jury Selection and Service Act, 28 U.S.C.
§§    1861-1878, secures litigants "a virtually unqualified right to inspect
jury lists" so as to further the statute's overall purpose: that "grand and
petit juries [are] selected at random from a fair cross section of the
community."   Test v. United States,, 420 U.S. 28, 30 (1975) (per curiam)
(internal quotation marks and citations omitted); Dean v. United States, No.
3:07-CR-122-MCR, 2009 WL 1587088, at *2 (N.D. Fla. June 5, 2009), aff'd, 367
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issued Defendant a Castro2 warning,                                          which notified him of its

intent to recharacterize his filing as a motion under 28 U.S.C.

§ 2255        to        vacate,      set     aside,         or         correct           his      sentence.               (Doc.

297.)          The        Court       granted         Defendant                   thirty         days      to     consider

whether        he        wished      to     contest         the             recharacterization,                   withdraw

his motion, or assert any additional § 2255 claims.                                                        (Id. at 2.)

        Since           that    time,       Defendant              has       submitted             three        additional

nonsensical              filings.           On     November                 4,     2014,         Defendant         filed      a

reply titled "Refused for Cause Without Dishonor."                                                           (Doc.    298.)

In     that    motion          Defendant           "refuse[d]                to     consent         to     any    concept,

idea,     or       action         that      would         construe,                amend,        or      recharacterize

movant's motion as an action under and pursuant to 28 U.S.C.                                                                [§]

2255"     and           accused      the    Government                 of    intentional                 dishonesty         and

lack of candor.                   (Doc.      298     at 2,             5,    8.)         He also mentioned for

the     first           time    an        ineffective              assistance               claim         based      on     his

appointed               counsel's         failure         to       raise           a     defense          based      on     the

"territorial nature of this court."                                         (Id.        at 4.)


F. App'x 83    (llth Cir.   2010)   (citations omitted).    "Indeed,  without
inspection, a party almost invariably would be unable to determine whether he
has a potentially meritorious jury challenge." Test, 420 U.S. at 30.    Under
no    circumstances,           however,      would    Defendant's                challenge — that            the     Southern
District of Georgia is limited to federal land and that federal grand jurors
must    reside      on    federal     land    to    return         a    valid       indictment        — be      meritorious,
and thus the Court will not turn over to Defendant the grand jurors' personal
contact        information           so    that      he     may         interview           them,        determine        their
"citizenship and residential qualifications," and "properly document a motion
to dismiss the indictment on the grounds of improper venue."  (Doc. 294 at 4,
18.)  The Court therefore DENIES Defendant's requests to inspect pursuant to
28 U.S.C. § 1861(a), and for the reasons set forth more fully in this Order
and United States v. Robertson, No. 2:13-CR-141-JAD-VCF, 2014 WL 4956208 (D.
Nev.    Oct.       2,    2014),    the     Court     further           DENIES          Defendant's        alternative       and
renewed motions to dismiss the indictment.                                  (Docs.      294,     303.)

2       Castro v. United States,                  540 U.S.         375,      377       (2003).
                                                               2
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        Ten    days           later,      Defendant      "conditionally             accepted"            this

Court's       "offer" to recharacterize his motion as                              one under §           2255

if and only if the Court provides "proof" that the United States

District       Court           for     the      Southern      District        of    Georgia         is     an

Article       III    court,          among      thirteen      other     enumerated         assertions.

(Doc.    300 at 2.)

        Lastly,          on    January          5,   2015,    Defendant         filed      a   "Renewed

Motion    to    Dismiss,             or   in    the Alternative,         Motion       to   Show      Cause

for Lack of Reply,                  Response,        or Order Granting the Motion of the

Defendant."              (Doc.      303.)       He continues to argue that this Court

is "devoid of Article                     III    original venue and jurisdiction" and

colorfully adds that the "government and the court have mutually

participated in                . . . actions []          [to]    delay,       obfuscate,       and act

in    obstruction              of     justice."          (Id.     at     4,     7.)         Apparently

perturbed that the Court has not resolved his case at a speed to

his     liking,           Defendant            further       directs     the       Court       to        take

"mandatory judicial                   notice"        of the canons        of       judicial     conduct

given its "capricious disregard" for his rights.                                    (Id. at 1-4.)

        Now,        as        before,          the    Court     has      carefully          considered

Defendant's          original             motion      (Doc.     294),    supplemental           filings

(Docs.        298,       300),        and      renewed     motion       (Doc.      303).        It        has

construed each of his pro se filings liberally in the interests

of justice.              See United States v. Hung Thien Ly, 646 F.3d 1307,

1316 (11th Cir. 2011).                         For the reasons stated herein, however,
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the     Court     DENIES     Defendant           Anthony          Bruce       Crago's          motion       to

inspect the grand jury list or dismiss the indictment                                          (Doc.    294)

and his renewed motion to dismiss                         (Doc.    303).


                                              DISCUSSION


        The Court notes at the outset that Defendant's allegations

are    remarkably      similar,          if    not       identical,          to    those       in   another

case filed by a criminal defendant who relied on theories copied

and     pasted     from     the    website           of    "Dr.        Eduardo          M.    Rivera,"       a

disbarred attorney who holds himself out                                as    a    Professor of Law

and    Government      at    the     Ed       Rivera       Internet          Law    School.            (See,

e.g. ,    Doc.     294-1    at     37,    40,     43,       46,     56,      58,    60        (noting,      in

letters to the Clerk of Court,                       Senior Deputy Clerk,                     Congressman

Paul      Brown,      Congressman              John        Barrow,           and        Senator        Saxby

Chambliss,        that Defendant has received an                          "opinion letter" from

"constitutional scholar" Rivera about the "genesis and status of

the U.S.        District Court").)              See United States v.                    Robertson,         No.

2:13-CR-141-JAD-VCF,              2014    WL    4956208,          at    *4-5       (D. Nev.         Oct.    2,

2014)      (internal       internet           citations           omitted).              United      States

Magistrate Judge           Ferenbach of the United States                               District Court

for    the      District    of    Nevada       recently           outlined         in    thorough        form

Rivera's        background,        which        reflects          that       Rivera          has    "made    a

career out of deceiving people:"

         Eduardo Rivera was admitted to practice law in 1972.   In
         2006, Rivera was disbarred for failing to comply with the
         law,    advising his clients to violate the law, and acting
         with     moral  turpitude, dishonesty, and corruption when
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     practicing law.                See In the Matter of Eduardo Rivera,                       Case
     No.    03-O-01778-RAP (Cal. Bar Ct. March 7, 2006).

     In at least one instance, the advice that Rivera gave to
     his client resulted in the client's imprisonment.     In
     United States v. Simkanin, 420 F.3d 397 (5th Cir. 2005),
     Rivera's       client -defendant Richard Michael Simkanin — was
     indicted       and convicted of tax fraud after Rivera advised
     Simkanin that Simkanin and his employees "had no legal duty
     to pay taxes."    Simkanin,                     420 F.3d 397, 403.                 Rivera's
     advice was wrong.     As a                      result of following                Rivera's
     advice, Simkanin was sentenced to eighty-four months                                 (i.e.,
     seven years) in prison.  Id.

     In another case,               Rivera offered different                clients     the    same
     advice.       He told his clients that if they do not file tax
     returns,      then they do not have to pay taxes. United States
     v.    Rivera, No. CV 03-2520-GHK-(JWJX),                         2003 WL 22429482, at
     *1    (CD. Cal. 2003).  This was a lie.                           Rivera then sold his
     clients "opinion letters" that cost between $100.00 and
     $2,000.00 and told them that his letter would protect them
     from criminal liability.   Id.  This was also a lie.    In
     United States v. Rivera, the court reviewed Rivera's legal
     arguments and opinion letters and concluded that they are
     "frivolous"      and       caused     substantial           harm to    Rivera's     clients
     and the United States.                    See id.   at    *10.


     Since     being disbarred,                Rivera    appears      to    have   been unable
     to    find    real    work.          He    founded     an    internet     school     in    his
     own    name    called          the   "Ed    Rivera       Internet      Law    School"      and
     then    appointed         himself         "Professor of          Law   and    Government."
     However,      there       is    no Ed Rivera         Internet Law School.                There
     are no       online courses;              there are no degree programs;                  there
     are no teachers           or    students.


     The only things that exist are a series of websites where
     Rivera posts the same type of advice that put Simkanin in
     jail.    For instance, Rivera promises his readers "[t]he
     Magic   Bullet  [that]  makes  the  federal trial    courts
     disappear as Article III judicial bodies."   Dr. Eduardo M.
     Rivera,         Ed         Rivera's             "brief"          on      Article          III,
     http://www.1215.org/lawnotes/work-in-progress/article-iii-
     court-by-ed-rivera.html (last visited June 26, 2014).

Robertson,     2014       WL    4956208         at   *4-5        (internal website             citations

omitted).          Judge        Ferenbach            proceeded         to    dismantle          each    of

Rivera's     farfetched and misguided theories                              about the          authority

of the United States District Courts and "territorial law" -                                           the
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same    theories           presented         by     Defendant           here.            See     id.    at      *5-8.

There    is    no    need       to      repeat      Judge          Ferenbach's           analysis          in    this

case.



        This Court will,                however,         repeat Judge Ferenbach's warning:

Defendant's          continued              reliance          on    Rivera's             faulty        —   if     not

fraudulent         — advice            is   an unwise,             transparent            strategy and may

subject       Defendant           to    substantial            prejudice.                Indeed,       the      Court

will not tolerate in the future                               Defendant's abuse of an already

overloaded          court         docket           with        meritless            claims          like        those


presented here.               See       Cofield v.            Alabama         Pub.       Serv.      Comm'n,       936

F.2d 512,          518     (11th Cir.            1991)        (stating that              Courts        "may limit

the    filing of           frivolous         law suits on a                  case by case basis" and

"take    other,          more      creative,         actions            to    discourage            hyperactive

litigators         as      long    as       some    access         to   the        courts      is      allowed") ;

see also       Patterson v.             Aiken,       841       F.2d 386,           387    (11th Cir.            1988)

(internal quotation marks omitted).

        Beyond the           reasons         set    forth more               fully       in Robertson with

respect       to    the     merits          of   Defendant's motions,                      the      Court       finds

that    it     lacks        subject          matter           jurisdiction           to     consider            them.

Federal       prisoners           generally may seek post-conviction                                   relief      in

two forms3:          (1)    Section 2255 relief and                          (2)    Section 2241 habeas


3    Criminal defendants, of course, may also challenge their convictions
and/or sentences by direct appeal.    In this case, Defendant did not file a
notice of appeal within the requisite fourteen-day period prescribed by
Federal Rule of Appellate Procedure 4(b)(1)(A).     The Court may extend the
time to file a notice of appeal up to thirty days from the expiration of the
initial fourteen-day window upon a finding of "excusable neglect or good
cause."  Fed. R. App. P. 4(b)(4).  Given the proper circumstances, this Court
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corpus        relief.            Medberry             v.     Crosby,          351    F.3d         1049,      1058     (11th

Cir.    2003).            Ordinarily,                 an action in which an individual seeks

to    collaterally attack                     his          conviction          should         be      filed     under      28

U.S.C.        §     2255         in        the        district           of     conviction.                   Moore        v.


Maldonado,          165      F.       App'x           812,       813     (11th      Cir.          2006);      Sawyer       v.

Holder,           326     F.3d            1363,        1365        (11th       Cir.        2003).              In     those

instances          where         a    §     2241       petition          attacking            custody          resulting

from      a       federally               imposed           sentence           is     filed,            those        § 2241

petitions          may     be        entertained                 where     the      petitioner               establishes

that    the       remedy provided under                           28    U.S.C.       §    2255         "is    inadequate

or ineffective to test the legality of his detention."                                                              Wofford

v.    Scott,       177 F.3d 1236,                 1238           (11th Cir.         1999);        accord Ramiro v.

Vasquez,           210      F.        App'x           901,        904        (11th        Cir.         2006).          This

provision,          known            as    the        "savings          clause[,]          applies           only     when:

(1)     the        petitioner's                   claim           is     based           on       a     retroactively

applicable              Supreme           Court        decision;              (2)     the         holding       of     that

decision          established               that           the     petitioner             was         convicted       of    a

^nonexistent              offense';           and          (3)    ^circuit          law    squarely foreclosed

such a        claim at       the          time    i t otherwise should have been                               raised at

the     petitioner's                  trial,           appeal,          or     first          §       2255    motion.'"

Moore, 165 F. App'x at 814                             (citing Wofford, 177 F.3d at 1244).



would   have       been    authorized            to    extend      Defendant's        deadline          to   appeal   until
February 2, 2014, but no further.    Defendant filed his initial motion on
October 25, 2014 and the corresponding "renewal" on January 5, 2015.     His
filings, therefore, are not properly before the Court as out-of-time appeals
either.
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        As       previously       noted,    the     Court      issued     Defendant          a    Castro

warning          with    respect     to    his    initial       motion,        Document          294,     on

October 27,          2014.        (Doc.   297.)     Defendant did not consent to the

Court's recharacterization of the motion as one arising under 28

U.S.C.       §   2255     (Doc.    298)     and   the     Court    will    not     entertain            his

later-filed             "conditional       acceptance"         motion     (Doc.       300):       either

Defendant          consents         to     recharacterization             or     he     does           not.4

Accordingly,            28 U.S.C.        § 2255 does not confer jurisdiction upon

the    Court       to    decide     Defendant's         motion    to    dismiss.             Moreover,

Defendant's             initial    filing     and       its    claims    clearly       do        not    fit

within       the    savings       clause as       interpreted in Moore                and Wofford.

Thus,      28      U.S.C.    § 2241       likewise        fails    to    confer       jurisdiction

upon the Court to hear Defendant's motion to dismiss.

        For       the     foregoing       reasons,       the    Court     DENIES       Defendant's

motion to inspect the grand jury list or dismiss the indictment

(Doc.     294)     and his renewed motion to dismiss                     (Doc.    303).


        ORDER ENTERED at Augusta,                        Georgia,       this          /eft       day of
January,         2015.




                                                          HOtfORAfEE^tr.       RAN-DflL HALL
                                                          UNITED)STATES DISTRICT JUDGE
                                                          SOUTHERN      DISTRICT OF GEORGIA

4        To Defendant's requests for "proof" of various "facts" and conclusions
from    the Court, the Court emphasizes that it is not the Court's duty to
refute or disprove any party's arguments, but only "to provide for the just
determination of every criminal proceeding."  Robertson, 2014 WL 4956208 at
*5    (citing Fed. R. Crim. P. 2) .
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